Case 2:22-cv-00223-Z     Document 7   Filed 11/18/22   Page 1 of 32   PageID 962



                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                         AMARILLO DIVISION


ALLIANCE FOR HIPPOCRATIC
MEDICINE, on behalf of itself, its member
organizations, their members, and these
members’ patients, et al.,
                                              Case No. 2:22-cv-00223-Z
           Plaintiffs,

      v.

U.S. FOOD AND DRUG
ADMINISTRATION, et al.,

           Defendants.

       PLAINTIFFS’ BRIEF IN SUPPORT OF THEIR MOTION FOR
                    PRELIMINARY INJUNCTION
Case 2:22-cv-00223-Z                   Document 7             Filed 11/18/22             Page 2 of 32            PageID 963



                                             TABLE OF CONTENTS

Table of Authorities ....................................................................................................... ii

Introduction ................................................................................................................... 1

Background .................................................................................................................... 2

Legal Standard .............................................................................................................. 6

Argument ....................................................................................................................... 7

I.        This Court has jurisdiction over Plaintiffs’ challenge to the FDA’s actions
          on chemical abortion drugs. ................................................................................ 7

          A.        Plaintiffs individually and collectively have standing to sue. ................ 7

          B.        Plaintiffs’ claims are ripe for review...................................................... 11

II.       Plaintiffs have a substantial likelihood of success on the merits. .................. 13

          A.        The FDA’s 2000 Approval and 2016 Petition Denial violated
                    Subpart H. .............................................................................................. 14

          B.        FDA’s 2000 Approval, 2016 Petition Denial, 2016 Major Changes,
                    2021 Non-Enforcement Decision, and 2021 Petition Response
                    Violated the FFDCA. .............................................................................. 17

          C.        The FDA’s 2000 Approval, 2016 Major Changes, 2021 Non-
                    Enforcement Decision, and 2021 Petition Response permit the
                    distribution of chemical abortion drugs through means prohibited
                    by certain federal laws. .......................................................................... 20

          D.        The FDA’s 2019 ANDA Approval for a generic version of
                    mifepristone should be withdrawn. ....................................................... 21

III.      There is a substantial threat that irreparable harm will result if the
          preliminary injunction is not granted. ............................................................. 23

IV.       Plaintiffs’ injuries and the harm threatened to the public outweighs the
          possible harm to Defendants, and injunctive relief will serve the public
          interest. ............................................................................................................. 24

Conclusion .................................................................................................................... 25




                                                                ii
Case 2:22-cv-00223-Z                Document 7           Filed 11/18/22          Page 3 of 32          PageID 964



                                       TABLE OF AUTHORITIES

Cases

American Stewards of Liberty v. Department of the Interior,
     370 F. Supp. 3d 711 (W.D. Tex. 2019) .............................................................. 14

Baltimore Gas & Electric Co. v. Natural Resource Defefense Council, Inc.,
      462 U.S. 87 (1983) ............................................................................................. 14

Bennett v. Spear,
     520 U.S. 154, 178 (1997) ................................................................................... 11

Canal Authority of State of Florida v. Callaway¸
      489 F.2d 567 (5th Cir. 1974) ......................................................................... 6, 23

Cuomo v. Clearing House Association,
     557 U.S. 519 (2009) ........................................................................................... 16

Federal Communications Commission v. Next Wave Personal
      Communications Inc.,
      537 U.S. 293 (2003) ........................................................................................... 13

Fund for Animals, Inc. v. Espy¸
      814 F. Supp. 142 (D.C. 1993) ............................................................................ 25

Hill Dermaceuticals, Inc. v. U.S. Food & Drug Admin.,
      524 F.Supp.2d 5 (D.C. 2007) ............................................................................. 24

Janvey v. Alguire¸
     647 F.3d 585 (5th Cir. 2011) ....................................................................... 13, 23

June Medical Services LLC v. Russo,
     140 S. Ct. 2103 (2020) ......................................................................................... 8

Kisor v. Wilkie,
       139 S. Ct. 2400 (2019) ....................................................................................... 15

Larson v. Domestic & Foreign Com. Corp.,
      337 U.S. 682 (1949) ........................................................................................... 13

Louisiana v. Becerra,
      20 F.4d 260 (5th Cir. 2021) ................................................................................. 6

Lujan v. Defs. of Wildlife,
      504 U.S. 555 (1992) ........................................................................................... 11



                                                           ii
Case 2:22-cv-00223-Z                 Document 7            Filed 11/18/22            Page 4 of 32           PageID 965



Mississippi Power & Light Co. v. United Gas Pipe Line Co.,
      760 F.2d 618 (5th Cir. 1985) ....................................................................... 24, 25

National Association of Reversionary Property Owners v. Surface
      Transportation Board,
      158 F.3d 135 (D.C. Cir. 1998) ........................................................................... 12

OCA-Greater Houston v. Texas,
     867 F.3d 604 (5th Cir. 2017) ............................................................................... 8

Pennsylvania Psychiatric Socociety v. Green Spring Health Services, Inc.,
     280 F.3d 278 (3d Cir. 2002) ................................................................................ 8

Sierra Club v. Environmental Protection Agency,
      551 F.3d 1019 (D.C. Cir. 2008) ......................................................................... 12

State of Texas v. Becerra,
       2022 WL 3639525 (N.D. Tex. Aug. 23, 2022) ............................................. 11, 24

Texas Association of Manufacturers v. United States Consumer Product
      Safety Commission,
      989 F.3d 368 (5th Cir. 2021) ............................................................................... 8

Texas Children’s Hospital v. Azar,
      315 F. Supp. 3d 322 (D.D.C. 2018) ................................................................... 16

Texas v. Biden,
      20 F.4th 928 (5th Cir. 2021) ............................................................................. 12

Texas v. United States,
      809 F.3d 134 (5th Cir. 2015) ............................................................................. 10

United States v. An Article of Device . . . Diapulse,
      768 F.2d 826 (7th Cir. 1985) ............................................................................. 19

University of Texas M.D. Anderson Cancer Center v. United States
      Department of Health and Human Services,
      985 F.3d 472 (5th Cir. 2021) ............................................................................. 15

Wages & White Lion Investments, L.L.C. v. U.S. Food & Drug Admin.,
     16 F.4d 1130 (5th Cir. 2021) ............................................................................... 7

Statutes

18 U.S.C. § 1462 ........................................................................................................... 21

18 U.S.C. § 1641 ........................................................................................................... 21


                                                              iii
Case 2:22-cv-00223-Z                  Document 7             Filed 11/18/22             Page 5 of 32           PageID 966



21 U.S.C. § 355(a) ........................................................................................................ 17

21 U.S.C. § 355(b) .................................................................................................. 17, 18

21 U.S.C. § 355(d) .................................................................................................. 17, 18

21 U.S.C. § 355(j) ......................................................................................................... 22

5 U.S.C. § 704 ............................................................................................................... 11

5 U.S.C. § 705 ................................................................................................................. 7

5 U.S.C. § 706(2)(A) ..................................................................................................... 13

5 U.S.C. § 706(2)(C) ..................................................................................................... 13

Regulations

1 C.F.R. §§ 314.54 ........................................................................................................ 18

21 C.F.R. § 10.45(b)...................................................................................................... 11

21 C.F.R. § 10.45(c) ...................................................................................................... 11

21 C.F.R. § 10.45(d)(1)(ii) .............................................................................................. 8

21 C.F.R. § 312.300(a).................................................................................................. 15

21 C.F.R. § 314 ............................................................................................................. 14

21 C.F.R. § 314.151 ...................................................................................................... 22

21 C.F.R. § 314.500 .................................................................................................. 3, 14

21 C.F.R. § 314.94 ........................................................................................................ 22

21 C.F.R. §§ 10.3 .......................................................................................................... 11

21 C.F.R. §§ 314.70 ...................................................................................................... 18




                                                               iv
Case 2:22-cv-00223-Z     Document 7      Filed 11/18/22   Page 6 of 32    PageID 967



                                 INTRODUCTION

      The U.S. Food and Drug Administration (FDA) must protect the health, safety,

and welfare of all Americans by rejecting or limiting the use of dangerous drugs. But

the FDA failed America’s women and girls when it approved chemical abortion drugs

for use in the United States.1 And it has repeatedly failed them by removing even the

most basic precautionary requirements associated with their use.

      The only way the FDA could have approved chemical abortion drugs was to call

pregnancy an “illness” and argue that these dangerous drugs provide a “meaningful

therapeutic benefit” over surgical abortions. Both of those conclusions are

transparently false. What’s more, in approving these drugs, the FDA chose politics

over science because the FDA never studied the safety of the drugs under the labeled

conditions of use, ignored the potential impacts of this hormone-blocking regimen on

the developing bodies of adolescent girls, and disregarded the substantial evidence

that chemical abortions cause more complications than even surgical abortions.

      Since approving chemical abortion drugs, the FDA has not followed the science,

reversed course, or fixed its mistakes—all to the detriment of women and girls.

Instead, the FDA has repeatedly removed the few safeguards that were in place to

protect women and girls who undergo this dangerous drug regimen. And just last

year, it removed even the most rudimentary requirement that women and girls have

at least one in-person visit with an abortionist during the course of the drug regimen.




1 The FDA’s approval of chemical abortion lacks an age restriction and thus permits

the use of the drug regimen by a pregnant girl of any age under 18 years.


                                          1
Case 2:22-cv-00223-Z     Document 7      Filed 11/18/22   Page 7 of 32    PageID 968



While that has accomplished the current administration’s goal of facilitating a “mail-

order” abortion economy, it has jeopardized the health and safety of women and girls.

      The FDA took these actions by running roughshod over the laws and

regulations that govern the agency and, more importantly, protect the public from

harmful drugs. Chemical abortion drugs inflict severe complications on many women

and girls, requiring critical and avoidable treatment by doctors. The FDA’s unlawful

actions have caused, and will continue to cause, irreparable harm to Plaintiffs.

      Because the FDA has refused to withdraw these dangerous drugs and evaded

responsibility for decades, Plaintiffs Alliance for Hippocratic Medicine, American

Association of Pro-Life Obstetricians and Gynecologists (AAPLOG), American College

of Pediatricians (ACPeds), Christian Medical & Dental Associations (CMDA), Dr.

Shaun Jester, Dr. Regina Frost-Clark, Dr. Tyler Johnson, Dr. George Delgado, and

their patients seek a preliminary injunction: (1) ordering Defendants to withdraw or

suspend the approvals of chemical abortion drugs, and remove them from the list of

approved drugs; (2) ordering Defendants to withdraw or suspend their actions to

deregulate chemical abortion drugs; and (3) enjoining Defendants from taking actions

inconsistent with the Court’s orders while they remain in effect.

                                  BACKGROUND

      The FDA’s chemical abortion drug regimen requires the use of two drugs:

(1) mifepristone (also known as “RU-486” and “Mifeprex”) and (2) misoprostol. App.

017. As an endocrine disruptor, mifepristone is a synthetic steroid that works to block

the hormone progesterone, stop nutrition to the unborn baby, and ultimately starve




                                          2
Case 2:22-cv-00223-Z      Document 7      Filed 11/18/22    Page 8 of 32     PageID 969



the baby to death in the mother’s womb. Id. Because mifepristone alone will not

always work to complete the abortion, the FDA mandates the use of a second drug—

misoprostol—to induce cramping and contractions to try to expel the dead baby from

the mother’s womb. Id. 017–18.

      During 1993 and 1994, the Clinton administration negotiated for the

Population Council—a nonprofit that John Rockefeller III founded to address world

“overpopulation”—to obtain the U.S. patent rights to mifepristone from its French

manufacturer. Id. 033–34. The Population Council then conducted clinical trials of

the drug and filed a new drug application (NDA) with the FDA. Id. 034–35. It later

granted Danco Laboratories, LLC, a Cayman Islands-based company with no other

pharmaceutical products, an exclusive license to manufacture, market, and distribute

mifepristone in the United States. Id. 042.

      Shortly before the 2000 presidential election, on September 28, 2000, the FDA

approved chemical abortion drugs (2000 Approval) under its regulation entitled

“Subpart H – Accelerated Approval of New Drugs for Serious or Life-Threatening

Illnesses” (Subpart H). Id. 527. Subpart H authorizes the FDA to provide accelerated

approval of new drugs “that have been studied for their safety and effectiveness in

treating serious or life-threatening illnesses and that provide meaningful therapeutic

benefit to patients over existing treatments (e.g., ability to treat patients unresponsive

to, or intolerant of, available therapy, or improved patient response over available

therapy).” 21 C.F.R. § 314.500 (emphasis added).




                                            3
Case 2:22-cv-00223-Z     Document 7      Filed 11/18/22    Page 9 of 32    PageID 970



      Given the dangers of chemical abortion drugs, Subpart H was the only possible

regulatory pathway available to the FDA to push approval of these drugs. Only under

Subpart H could the FDA have imposed post-approval restrictions on the drugs’

distribution and use “to assure safe use.” See 21 C.F.R. § 314.520. Indeed, without

improperly relying on Subpart H and applying its post-approval restrictions, the FDA

would have been left with no choice but to reject these drugs.

      The FDA’s 2000 Approval thus placed several restrictions on the use of

chemical abortion drugs. It limited them to women and girls with babies ages 49 days’

gestation or younger. App. 527. The FDA required three in-person office visits: (1) the

Day 1 in-person dispensing and administration of mifepristone; (2) the Day 3 in-

person dispensing and administration of misoprostol; and (3) the Day 14 office visit

to confirm no fetal parts or tissue remain. Id. 519–20, 523. The FDA also required

chemical abortionists to be physicians, and these abortionists needed to report all

adverse events from the drugs. Id. 523. The FDA’s approved distribution system for

mifepristone neither acknowledged nor attempted to comply with the federal laws

that prohibit the upstream distribution of these drugs—from the manufacturer to the

abortionists—by mail, express company, or common carrier. Id. 040.

      In 2002, under the FDA’s regulations that require the filing of a citizen petition

before seeking judicial relief, Plaintiffs AAPLOG and CMDA filed a citizen petition

with the FDA challenging the 2000 Approval (2002 Citizen Petition). Id. 281–372.

Fourteen years later, on March 29, 2016—close to another presidential election—the

FDA rejected the 2002 Citizen Petition (2016 Petition Denial). Id. 562–94.




                                          4
Case 2:22-cv-00223-Z     Document 7     Filed 11/18/22    Page 10 of 32     PageID 971



      On the same day in March 2016, the FDA approved “major changes” to the

chemical abortion drug regimen, eviscerating crucial safeguards for women and girls

(2016 Major Changes). Id. 616–23. For example, the agency increased the maximum

gestational age of a baby for which a pregnant woman or girl may have a chemical

abortion from 49 days’ gestation to 70 days’ gestation. Id. 627. The FDA also

(1) changed the dose and regimen for chemical abortion, (2) reduced the number of

required in-person office visits from three to one, (3) allowed non-doctors to prescribe

and administer chemical abortions, and (4) eliminated the requirement for

prescribers to report non-fatal adverse events from chemical abortion. Id. The FDA

once again neither acknowledged nor attempted to comply with the federal laws that

prohibit the upstream distribution of these drugs—from the manufacturer to the

abortionists—by mail, express company, or common carrier. Id. 627–51.

      In March 2019, Plaintiffs AAPLOG and ACPeds filed a citizen petition

challenging the 2016 Major Changes (2019 Citizen Petition). Id. 668–93.

      On April 11, 2019, the FDA approved GenBioPro, Inc.’s abbreviated new drug

application for a generic version of mifepristone, relying on Mifeprex’s safety data

(2019 ANDA Approval). Id. 695. GenBioPro’s generic version of mifepristone has the

same labeling and postmarketing restrictions as does Danco’s Mifeprex. Id. 702.

      On April 12, 2021, in the early days of the Biden administration, the FDA

stated that it would “exercise enforcement discretion” and allow “dispensing of

mifepristone through the mail . . . or through a mail-order pharmacy” during the

COVID pandemic (2021 Non-Enforcement Decision). Id. 715. The FDA took this




                                           5
Case 2:22-cv-00223-Z     Document 7     Filed 11/18/22    Page 11 of 32    PageID 972



action even though federal statutes expressly prohibit distribution of chemical

abortion drugs by mail, express company, or common carrier. Then, on December 16,

2021, the FDA denied almost all of the 2019 Citizen Petition (2021 Petition

Response). Id. 769. In particular, the FDA expressly rejected the 2019 Citizen

Petition’s request to keep the in-person dispensing requirements and announced that

the agency would permanently allow abortion by mail. Id. 735. Major news outlets

proclaimed that FDA’s move would “permanently . . . [allow abortion] by mail.”2

                               LEGAL STANDARD

      A court may issue a preliminary injunction when a movant satisfies the

following four factors: (1) a substantial likelihood of success on the merits; (2) a

substantial threat of irreparable harm if the injunction does not issue; (3) the

threatened injury outweighs any harm that will result if the injunction is granted;

and (4) the grant of an injunction is in the public interest. See Louisiana v. Becerra,

20 F.4d 260, 262 (5th Cir. 2021). “The purpose of a preliminary injunction is always

to prevent irreparable injury so as to preserve the court’s ability to render a

meaningful decision on the merits.” Canal Auth. of State of Fla. v. Callaway¸ 489 F.2d

567, 576 (5th Cir. 1974). The same standards apply “to prevent irreparable injury”

under the Administrative Procedure Act (APA). 5 U.S.C. § 705. Wages & White Lion

Investments, L.L.C. v. U.S. Food & Drug Admin., 16 F.4d 1130, 1143 (5th Cir. 2021).




2 Christal Hayes, FDA makes abortion pills permanently available through mail

and telehealth by removing in-person restriction, USA TODAY (Dec. 16, 2021),
https://www.usatoday.com/story/news/health/2021/12/16/fda-abortion-pills-
permanently-available-mail/8931338002/.


                                          6
Case 2:22-cv-00223-Z      Document 7     Filed 11/18/22     Page 12 of 32    PageID 973



                                     ARGUMENT

      Plaintiff medical associations, doctors, and their patients seek a preliminary

injunction ordering Defendants to: (1) withdraw or suspend their September 30, 2000,

Approval of Mifeprex and their April 11, 2019, approval of Mifepristone Tablets, 200

mg, and remove them from the list of approved drugs; (2) withdraw or suspend their

March 29, 2016, Approval of Danco Laboratories’ supplemental new drug application

for Mifeprex; (3) withdraw or suspend their April 12, 2021, Non-Enforcement

Decision letter, and December 16, 2021, Response to the 2019 Citizen Petition

concerning the in-person dispensing requirement for mifepristone; and (4) enjoining

Defendants from taking actions inconsistent with these orders.

I.    This Court has jurisdiction over Plaintiffs’ challenge to the FDA’s
      actions on chemical abortion drugs.

      A.     Plaintiffs individually and collectively have standing to sue.

      Plaintiff medical associations have standing to sue in their own right because

the FDA’s actions on chemical abortion have injured these associations. App. 090–93.

The FDA’s actions have frustrated and complicated Plaintiff medical associations’

ability to educate and inform their members, their patients, and the public on the

dangers of chemical abortion drugs. Id. 091. These associations have also been

challenging the FDA’s actions to legalize and deregulate these drugs for decades. Id.

091–93. In response to the FDA’s actions on chemical abortion, Plaintiff medical

associations have needed to divert limited time, energy, and resources away from

their other priorities and functions, and will continue to do so. Id. Such injuries confer

organizational standing. OCA-Greater Houston v. Texas, 867 F.3d 604, 610–12 (5th



                                            7
Case 2:22-cv-00223-Z      Document 7        Filed 11/18/22   Page 13 of 32   PageID 974



Cir. 2017) (holding nonprofit had standing after spending “additional time and effort”

explaining the new law, which “frustrate[d] and complicate[d] its routine community

outreach activities”); see also 21 C.F.R. § 10.45(d)(1)(ii) (requiring FDA to concede

that anyone who files a citizen petition “is affected by, and thus has standing to obtain

judicial review of final agency action”).

      Plaintiff medical associations also have standing to bring claims on behalf of

their members, who are medical professionals who treat women and girls harmed by

chemical abortion drugs, and on behalf of their members’ patients. See Tex. Ass’n of

Mfrs. v. U.S. Consumer Prod. Safety Comm’n, 989 F.3d 368, 377 (5th Cir. 2021); Pa

Psychiatric Soc. v. Green Spring Health Servs., Inc., 280 F.3d 278, 283–293 (3d Cir.

2002). Similarly, Plaintiff doctors also have standing to sue on behalf of themselves

and their patients. June Med. Servs. LLC v. Russo, 140 S. Ct. 2103, 2118–20 (2020).

      Plaintiffs have standing because the FDA legalized an unsafe drug regimen

that has caused, and will continue to cause, Plaintiffs’ past and future patients to

endure many intense side effects and suffer significant complications requiring

medical attention. App. 074–79. Because the FDA has created an inaccurate and false

safety profile of chemical abortion, Plaintiffs’ patients cannot give informed consent

before going through the regimen. Id. 078–79. Many do not fully understand the

nature and risks of these drugs. Id. 078. As a result, many suffer distress and regret

after undergoing chemical abortion. Id. 079.

      The harms that the FDA has wreaked on women and girls have also injured,

and will continue to injure, Plaintiff doctors and their medical practices. Id. 074, 080,




                                              8
Case 2:22-cv-00223-Z      Document 7      Filed 11/18/22    Page 14 of 32     PageID 975



090. The FDA’s actions have caused medical professionals, including Plaintiffs, to

treat women and girls suffering complications from chemical abortion drugs—the

rate of which has increased and will continue to increase over time. Id. 076–78, 080–

82. The adverse events from chemical abortion drugs can overwhelm the medical

system and consume crucial limited medical resources, including blood for

transfusions, physician time and attention, space in hospitals and medical centers,

and other equipment and medicines. Id. 081–83. The more patients suffering

emergency complications from chemical abortion drugs or seeking to reverse the

effects of the drug regimen, the less time and attention Plaintiff doctors have to treat

their other patients. Id. 077–84. Plaintiff doctors need to take additional time out of

their busy schedules to learn how to report adverse events and then submit adverse

event reports to the FDA, the state, or drug manufacturer. Id. 088–89. The FDA’s

actions on chemical abortion directly injure the well-being and practices of Plaintiff

doctors who care for pregnant patients and their babies through pregnancy. Id. 088,

087–90.

       The FDA’s actions have placed enormous pressure and stress on Plaintiff

doctors during these emergency situations. Id. 085. Some of these emergency

situations force pro-life doctors, including Plaintiffs, into situations in which they feel

complicit in the elective chemical abortion by needing to remove a baby with a beating

heart or fetal remains as the only means to save the life of the woman or girl. Id. 085–

86. This feeling of complicity causes great emotional suffering, mental anguish, and

spiritual distress for these doctors. Id. 086. It also grieves Plaintiffs to treat women




                                            9
Case 2:22-cv-00223-Z     Document 7     Filed 11/18/22    Page 15 of 32     PageID 976



and girls harmed by chemical abortion drugs, including those who regret their

decision to have a chemical abortion. Id. 087.

      There are other costs to Plaintiffs. The FDA’s actions prevent Plaintiff doctors

from practicing evidence-based medicine. Id. 087. The lack of accurate information

on adverse events also harms the doctor-patient relationship. Id. 089. The FDA has

caused Plaintiff doctors to face increased exposure to allegations of malpractice and

potential liability, along with higher insurance costs. Id. 089–90.

      Plaintiffs are also within the zone of interests of the Federal Food, Drug, and

Cosmetic Act (FFDCA) and federal laws that restrict the distribution of chemical

abortion drugs. See Texas v. United States, 809 F.3d 134, 162 (5th Cir. 2015) (stating

that the interest that plaintiffs assert for APA claims “must be arguably within the

zone of interests to be protected or regulated by the statute that they say was

violated”) (citations and quotations omitted). This test is not meant to be demanding.

Id. The FFDCA establishes a legal and regulatory framework to protect the public

from harmful drugs, to prevent dangerous situations requiring emergency medical

attention, and to inform doctors and the public about the risks of approved drugs.

Federal laws restricting the distribution of chemical abortion drugs protect women,

girls, and their doctors from these harmful drugs by limiting access to them.

      Plaintiffs’ injuries in fact are thus “concrete and particularized,” “actual or

imminent, not conjectural or hypothetical,” fairly traceable to the challenged actions,

and likely to be redressed by the relief requested. Lujan v. Defs. of Wildlife, 504 U.S.

555, 560–61 (1992). The Complaint and its attached declarations show that the harms




                                          10
Case 2:22-cv-00223-Z     Document 7      Filed 11/18/22    Page 16 of 32    PageID 977



that the FDA’s actions inflict on these associations, doctors, and their patients are

real, significant, and ongoing. App. 075–93.

      B. Plaintiffs’ claims are ripe for review.

      “Before the Court may reach the merits, it must also address whether [the

challenged agency action] is a final agency action subject to the Court’s review.” State

of Texas v. Becerra, 2022 WL 3639525, 15 (N.D. Tex. Aug. 23, 2022). Under the APA,

courts may review “final agency action.” See id. (citing 5 U.S.C. § 704). “[A]n agency

action is ‘final’ for purposes of the APA where the action (1) ‘mark[s] the

consummation of the agency’s decision making process’ and (2) is ‘one by which rights

or obligations have been determined, or from which legal consequences will flow.’” Id.

at *15 (citing Bennett v. Spear, 520 U.S. 154, 178 (1997)).

      The FDA’s regulations require the submission of a citizen petition requesting

the agency to take or refrain from taking any form of administrative action before

suing. 21 C.F.R. §§ 10.30; 10.45(b). The FDA’s final decision on a citizen petition

constitutes a final agency action for the underlying FDA action and the related citizen

petition, and both are reviewable in the courts under the APA. 21 C.F.R. § 10.45(c).

The 2016 Major Changes and the related 2021 Petition Response are thus ripe for

review as they represent the consummation of the agency’s decision-making process.

      The FDA’s 2016 Major Changes and 2021 Petition Response reopened the

2000 Approval and 2016 Petition Denial, thereby making these earlier FDA actions

also ripe for review. “The reopening doctrine . . . create[s] an exception to statutory

limits on the time for seeking review [of an agency decision].” Nat’l Ass’n of




                                           11
Case 2:22-cv-00223-Z     Document 7      Filed 11/18/22    Page 17 of 32   PageID 978



Reversionary Prop. Owners v. Surface Transp. Bd., 158 F.3d 135, 141 (D.C. Cir.

1998) (quotations and citation omitted). “Under the reopening doctrine, the time for

seeking review starts anew where the agency reopens an issue.” Sierra Club v. EPA,

551 F.3d 1019, 1024 (D.C. Cir. 2008). An agency reopens an underlying regulatory

action where the agency’s later actions “completely changed the regulatory context,”

“created a different regulatory construct,” or “removed . . . necessary safeguards.”

Id. at 1025 (emphasis in original). The Fifth Circuit has adopted the “reopening

doctrine.” See Texas v. Biden, 20 F.4th 928, 951–55 (5th Cir. 2021) (noting “[o]ur

holding . . . is dictated by the well-established reopening doctrine”).

      The FDA’s 2000 Approval and 2016 Petition Denial are ripe for judicial

review because the FDA’s 2016 Major Changes and the 2021 Petition Response

reopened the underlying approval. App. 093, 103. At the request of Danco, the FDA

agreed to reopen, reexamine, and revise the conditions upon which the 2000

Approval was based. When reviewing this request, the FDA acknowledged that

Danco asked for “major changes” to the chemical abortion drug regimen. Id. 630.

The FDA’s 2016 Major Changes then gutted the crucial safeguards that the FDA

believed were necessary for the agency to approve chemical abortion drugs in 2000.

Id. 100–01. Ultimately, the FDA—through its 2016 Major Changes and later

affirmed in its 2021 Petition Response—completely changed the regulatory context

and created a different regulatory construct for chemical abortion drugs by

removing these necessary safeguards. Id.




                                           12
Case 2:22-cv-00223-Z      Document 7      Filed 11/18/22     Page 18 of 32     PageID 979



II.    Plaintiffs have a substantial likelihood of success on the merits.

       “To satisfy the first element of likelihood of success on the merits,” Plaintiffs

“must present a prima facie case but need not show that [they are] certain to win.”

Janvey v. Alguire¸ 647 F.3d 585, 595–96 (5th Cir. 2011) (quotations and citation

omitted). Indeed, Plaintiffs are “not required to prove [their] entitlement to summary

judgment.” Id. at 596. Because Plaintiffs claim the FDA has violated the APA, this

Court should look to the “standards provided by the [APA].” Id. (quotations and

citation omitted). In addition, distinct from the APA, courts of equity have the power

to set aside ultra vires federal actions. Larson v. Domestic & Foreign Com. Corp., 337

U.S. 682, 689–90, 693 (1949).

       Under the APA, courts must “hold unlawful and set aside agency action,

findings, and conclusions to be . . . arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law,” or “in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2)(A), (C); see also

FCC v. Next Wave Pers. Commc’ns Inc., 537 U.S. 293, 300 (2003) (“The Administrative

Procedure Act requires federal courts to set aside federal agency action that is ‘not in

accordance with law,’ 5 U.S.C. § 706(2)(A)—which means, of course, any law, and not

merely those laws that the agency itself is charged with administering.”) (citation

omitted). “In a challenge to agency action under the APA, part of the court’s task

involves ‘reviewing agency action to determine whether the agency conformed with

controlling statutes.’” Am. Stewards of Liberty v. Dep’t of Interior, 370 F. Supp. 3d

711, 725 (W.D. Tex. 2019) (citing Baltimore Gas & Elec. Co. v. Nat. Res. Def. Council,

Inc., 462 U.S. 87, 97 (1983)). Moreover, “an agency must comply with its own


                                            13
Case 2:22-cv-00223-Z      Document 7      Filed 11/18/22    Page 19 of 32     PageID 980



regulations, and the court must review an agency’s actions to ensure conformity with

relevant regulations.” Id. at 725–26 (citations omitted).

       Plaintiffs’ motion focuses on four specific legal infirmities associated with the

FDA’s actions to approve and deregulate chemical abortion drugs: (1) the 2000

Approval and the 2016 Petition Denial violated Subpart H because mifepristone does

not treat an illness or provide meaningful comparative therapeutic benefits; (2) the

2000 Approval, the 2016 Petition Denial, the 2016 Major Changes, 2021 Non-

Enforcement Decision, and the 2021 Petition Response all failed to meet the

requirements for showing safety and effectiveness under the FFDCA; (3) the 2000

Approval, the 2016 Major Changes, the 2021 Non-Enforcement Decision, and the

2021 Petition Response all violated federal laws that restrict the distribution of

chemical abortion drugs; and (4) the 2019 ANDA Approval lacked the requirements

for approval and demands withdrawal under the FFDCA.

       A.     The FDA’s 2000 Approval and 2016 Petition Denial violated
              Subpart H.

       The 2000 Approval and the 2016 Petition Denial conflicted with law and the

FDA’s own regulations under 21 C.F.R. § 314, Subpart H. This accelerated review

authority applies only to “certain new drugs that . . . treat[] serious or life-threatening

illnesses and that provide meaningful therapeutic benefit to patients over existing

treatments.” 21 C.F.R. § 314.500 (emphasis added).

       Pregnancy is not an illness. App. 003, 043–44. Indeed, it is a normal

physiological state that many females experience one or more times during their

childbearing years. Id. 012. Before the 2000 Approval, the Population Council



                                            14
Case 2:22-cv-00223-Z     Document 7     Filed 11/18/22    Page 20 of 32     PageID 981



actually agreed that “[n]either pregnancy nor unwanted pregnancy is an illness, and

Subpart H is therefore inapplicable for that reason alone.” Id. 036. Even the FDA

conceded that pregnancy is not an “illness.” Id. 050. The Court’s inquiry should end

here and find that the 2000 Approval violated Subpart H.

      Not surprisingly, the FDA has attempted to justify its illicit approval of

chemical abortion drugs under Subpart H by looking beyond the unambiguous

regulatory text. Id. 050. The FDA has asserted that, according to the preamble of the

Subpart H final rule, the regulations are “intended to apply to serious or life-

threatening conditions, as well as to illnesses or diseases.” Id. 050. (emphasis added).

But this interpretation defies the plain text of Subpart H. And the FDA’s

interpretation of an unambiguous regulation is entitled to no deference whatsoever.

Kisor v. Wilkie, 139 S. Ct. 2400, 2415 (2019); see also Univ. of Texas M.D. Anderson

Cancer Ctr. v. HHS, 985 F.3d 472, 476 (5th Cir. 2021) (applying Kisor when holding

that HHS’s interpretation of an unambiguous regulation was invalid and actions

under that interpretation were arbitrary and capricious). Nor is this interpretation

reasonable. If the FDA wanted to include “conditions” in Subpart H, the agency knew

how to draft such language. See, e.g., 21 C.F.R. § 312.300(a) (defining scope of the

FDA’s “Subpart I” regulations for use of certain investigational drugs “when the

primary purpose is to diagnose, monitor, or treat a patient’s disease or condition”)

(emphasis added).

      The FDA’s argument also contradicts the fundamental principle of

administrative law that the text of a codified regulation controls its scope and terms;




                                          15
Case 2:22-cv-00223-Z     Document 7     Filed 11/18/22    Page 21 of 32     PageID 982



a preamble cannot override regulatory text. See Cuomo v. Clearing House Ass’n, 557

U.S. 519, 533 (2009) (invalidating an agency’s interpretation of a regulation

inconsistent with the regulation’s text and the statute); Texas Child.’s Hosp. v. Azar,

315 F. Supp. 3d 322, 334 (D.D.C. 2018) (holding preamble to a final rule cannot be

used to contradict the unambiguous text of the rule at issue).

      The FDA’s 2000 Approval and 2016 Petition Denial also violate Subpart H

because chemical abortion drugs do not provide a “meaningful therapeutic benefit” to

patients over existing treatments, in particular surgical abortion. App. 003, 015, 037,

051. The U.S. clinical trial failed to compare chemical abortion drugs with the existing

“therapy,” surgical abortion, to support a finding of a “meaningful therapeutic benefit

over existing treatments.” Id. 044. Because surgical intervention is required after

many chemical abortions, these drugs are not an alternative “therapy” for patients

unresponsive to, or intolerant of, surgical abortion—as contemplated by Subpart H.

Id. Nor do these drugs provide an improved patient response over surgical abortion—

also as contemplated by Subpart H. Indeed, especially when compared to surgical

abortion, chemical abortion drugs have potential serious and life-threatening adverse

effects on women and girls. Id. 019. For example, chemical abortions are over fifty

percent (50%) more likely than surgical abortions to result in an emergency

department visit within thirty days, affecting one in twenty females who take the

chemical abortion drugs. Id.

      Despite these facts, the FDA offered only one “meaningful therapeutic benefit”

of chemical abortion: “the avoidance of a surgical procedure.” Id. 038. But this




                                          16
Case 2:22-cv-00223-Z     Document 7     Filed 11/18/22    Page 22 of 32     PageID 983



specious “justification” is not even a benefit as it creates additional health risks and

cannot satisfy the requirements of Subpart H to approve chemical abortion drugs.

      B.     FDA’s 2000 Approval, 2016 Petition Denial, 2016 Major Changes,
             2021 Non-Enforcement Decision, and 2021 Petition Response
             Violated the FFDCA.

      The FDA’s actions to approve and deregulate chemical abortion drugs failed to

satisfy the FFDCA’s strict safety and effectiveness requirements. The FFDCA

requires companies seeking to market any new drug in the United States to obtain

the FDA’s approval by filing a new drug application (NDA). 21 U.S.C. § 355(a), (b).

The NDA must contain extensive scientific data showing the safety and effectiveness

of the drug. 21 U.S.C. § 355(d). The FDA must reject the NDA if the clinical

investigations “do not include adequate tests . . . to show whether or not such drug is

safe for use under the conditions prescribed, recommended, or suggested in the

proposed labeling thereof.” Id. The FDA must also reject the NDA if “the results of

such tests show that such drug is unsafe for use under such conditions or do not show

that such drug is safe for use under such conditions.” Id. (emphasis added). The FDA

must deny the NDA if the agency “has insufficient information to determine whether

such drug is safe for use under such conditions.” Id. Finally, the FDA must deny the

NDA if “there is a lack of substantial evidence that the new drug will have the effect

it purports or is represented to have under the conditions of use prescribed,

recommended, or suggested in the proposed labeling thereof.” Id.

      If a sponsor of an approved drug later seeks to change the label, market a new

dosage or strength of the drug, or changes the way it manufactures a drug, the




                                          17
Case 2:22-cv-00223-Z     Document 7     Filed 11/18/22    Page 23 of 32    PageID 984



company must submit a supplemental new drug application (sNDA) seeking FDA’s

approval of such changes. 21 U.S.C. § 355(b); 21 C.F.R. §§ 314.54, 314.70. The sNDA

must also show that the drug is safe and effective for use under the conditions of use

prescribed, recommended, or suggested in the proposed labeling. 21 U.S.C. § 355(d).

      The FDA’s 2000 Approval and 2016 Petition Denial violated the FFDCA

because the U.S. clinical trial on which the FDA relied failed to evaluate the

conditions of use under the approved label. For example, the clinical trial included

these requirements: (1) each woman had to receive an ultrasound to confirm

gestational age and exclude an ectopic pregnancy; (2) physicians were required to

have experience in performing surgical abortions and have admitting privileges at

medical facilities that could provide emergency care and hospitalization; (3) all

patients needed to be within one hour of emergency facilities or the facilities of the

principal investigator; and (4) the women needed to be monitored over the course of

four hours to check for adverse events after taking misoprostol. App. 045.

      The FDA included none of these crucial safeguards in the 2000 Approval. Id.

046. By not requiring the clinical trial to evaluate whether chemical abortion drugs

are safe and effective without these safeguards, the FDA’s approach conflicted with

the requirements of the FFDCA and defied sound scientific policy. See, e.g., United

States v. An Article of Device . . . Diapulse, 768 F.2d 826, 832–33 (7th Cir. 1985)

(upholding FDA’s rejection of labeling because “the proposed labeling for the devices

must specify conditions of use that are similar to those followed in the studies”).




                                          18
Case 2:22-cv-00223-Z     Document 7     Filed 11/18/22    Page 24 of 32     PageID 985



      Similarly, the 2016 Major Changes violated the FFDCA because none of the

studies on which the FDA relied were designed to evaluate the safety and

effectiveness of chemical abortion drugs for use under the conditions prescribed,

recommended, or suggested in the proposed labeling. App. 055–56. Not only did the

FDA rely on studies that evaluated a drug regimen that did not match the labeling

in the 2016 Major Changes, but the agency also took a piecemeal approach to

evaluating the safety and effectiveness of its removal of necessary safeguards—

despite acknowledging that “these major changes are interrelated.” Id. 055–56.

      For example, the FDA relied on a study to support extending the maximum

gestational age to 70 days, changing the dosing regimen, and authorizing a repeat

dose of misoprostol if the first dose fails. Id. 055–56. In this study, the abortionists

(1) confirmed gestational age “based on routine ultrasound practices,” (2) required

the participants to return to the study site after the chemical abortion “for clinical

assessment, which included ultrasonography,” and (3) “intervened surgically if they

deemed it medically necessary or at the patient’s request.” Id. 655. But the labeling

that the FDA approved in the 2016 Major Changes did not require (1) an ultrasound

to confirm gestational age, (2) an in-person follow-up exam using ultrasonography,

and (3) an ability of abortionists to personally perform surgical abortion if necessary.

Id. 055–56. The FDA’s approved labeling needed to be at least as protective as the

studies on which the agency purportedly relied to determine safety and effectiveness.

      The FDA’s 2021 Non-Enforcement Decision and 2021 Petition Response suffer

similar infirmities. In removing the in-person dispensing requirement for




                                          19
Case 2:22-cv-00223-Z     Document 7    Filed 11/18/22   Page 25 of 32    PageID 986



mifepristone, the FDA impermissibly relied on data from the FDA Adverse Event

Reporting System (FAERS)—despite the agency’s decision in 2016 to eliminate the

requirement for abortionists to report non-fatal adverse events. Id. 066, 070–71.

What’s more, the FDA also cited certain studies to support the 2021 Petition

Response, even though the agency conceded that “the ability to generalize the results

of these studies to the United States population is hampered,” “the usefulness of the

studies is limited in some instances by small sample sizes and lack of follow-up

information on outcomes with regard to both safety and efficacy,” and the FDA “did

not find any large clinical studies that were designed to collect safety outcomes in

healthcare systems similar to the United States.” Id. 072. These studies and the

FAERS data cannot even conceivably meet the FFDCA’s strict standards for showing

a drug’s safety and effectiveness.

      C.     The FDA’s 2000 Approval, 2016 Major Changes, 2021 Non-
             Enforcement Decision, and 2021 Petition Response permit the
             distribution of chemical abortion drugs through means
             prohibited by certain federal laws.

      The FDA’s actions to approve chemical abortion drugs and subsequently

eliminate necessary safeguards—the FDA’s 2000 Approval, 2016 Major Changes,

2021 Non-Enforcement Decision, and 2021 Petition Response—all permit the

distribution of these drugs through means that federal laws prohibit.

      These federal laws expressly prohibit the distribution of chemical abortion

drugs by mail, express company, or common carrier. Specifically, 18 U.S.C. § 1641

prohibits the mailing or delivery by any letter carrier of “[e]very article or thing

designed, adapted, or intended for producing abortion” and “[e]very article,



                                         20
Case 2:22-cv-00223-Z     Document 7    Filed 11/18/22   Page 26 of 32       PageID 987



instrument, substance, drug, medicine, or thing, which is advertised or described in

a manner calculated to lead another to use or apply it for producing abortion.” And

18 U.S.C. § 1462 forbids the use of “any express company or other common carrier”

to transport chemical abortion drugs “in interstate or foreign commerce.”

      But the FDA’s unlawful actions allow distribution of mifepristone by mail,

express company, and common carrier. For example, the FDA’s 2000 Approval

contained certain restrictions on the distribution of mifepristone, see App. 523, but

the FDA did not include prohibitions on the upstream distribution of mifepristone—

from the manufacturer or importer to the abortionist—by mail, express company, or

common carrier, nor did the FDA acknowledge and address these laws. Id. 040. The

2016 Major Changes suffered from the same shortcomings. Id. 055. The FDA’s 2021

Non-Enforcement Decision and 2021 Petition Response further violated these laws

when expressly allowing the “dispensing of mifepristone through the mail . . . or

through a mail-order pharmacy.” Id. 066. Neither of these 2021 decisions, however,

acknowledged or addressed the federal laws expressly prohibiting such downstream

distribution. Id. 066, 073.

      D.     The FDA’s 2019 ANDA Approval for a generic version of
             mifepristone should be withdrawn.

      The FDA also violated these federal laws and the FFDCA when it approved a

generic version of mifepristone. The FFDCA allows a generic drug manufacturer to

submit an abbreviated new drug application (ANDA) for premarket review and

approval. 21 U.S.C. § 355(j); 21 C.F.R. § 314.94. The generic company must show that

(a) the conditions of use prescribed, recommended, or suggested in the labeling



                                         21
Case 2:22-cv-00223-Z     Document 7      Filed 11/18/22    Page 27 of 32    PageID 988



proposed for the new drug have been previously approved for a drug listed and (b) the

drug product is chemically the same as the already approved drug, allowing it to rely

on the FDA’s previous finding of safety and effectiveness for the approved drug. Id.

The route of administration, dosage form, and strength must also be the same. Id.

      If the FDA withdraws the listed drug on which the ANDA-approved generic

drug is based, the FFDCA and the FDA’s implementing regulations generally require

the FDA to withdraw the generic drug as well. 21 U.S.C. § 355(j)(6); 21 C.F.R.

§ 314.151. The grounds for withdrawing both the underlying drug and the generic

drug include clinical or other experience, tests, or other scientific data that show that

the drug is unsafe under the conditions of use upon the basis of which the application

was approved. Id. Or the FDA can withdraw the drugs if new information shows that

there is a lack of substantial information that the drugs will have the effect they

purport or are represented to have under the conditions of use prescribed,

recommended, or suggested in the labeling thereof. Id.

      The 2019 ANDA Approval violated the FFDCA because the FDA relied on the

unlawful 2000 Approval and 2016 Major Changes to approve GenBioPro’s generic

chemical abortion drug. Because the 2000 Approval and the 2016 Major Changes

must be withdrawn for the reasons stated above, the 2019 ANDA must meet the same

fate. Unable to rely on the unlawful 2000 Approval and 2016 Major Changes, the

2019 ANDA Approval violated the FFDCA because it lacked its own clinical




                                           22
Case 2:22-cv-00223-Z      Document 7     Filed 11/18/22     Page 28 of 32    PageID 989



investigations, adequate testing, sufficient information, and substantial evidence to

show the generic drug’s safety and effectiveness.

III.   There is a substantial threat that irreparable harm will result if the
       preliminary injunction is not granted.

       “To satisfy the second element of the preliminary injunction standard,

[Plaintiffs] must demonstrate that if the district court denied the grant of a

preliminary injunction, irreparable harm would result.” Janvey, 647 F.3d at 600.

“Harm is irreparable where there is no adequate remedy at law, such as monetary

damages.” Id. (cleaned up). The injury must not be “speculative. . . . [T]here must be

more than an unfounded fear on the part of the applicant.” Id. (cleaned up). “If the

currently existing status quo itself is causing one of the parties irreparable injury, it

is necessary to alter the situation so as to prevent the injury . . . by the issuance of a

mandatory injunction.” Canal Auth. of State of Fla., 489 F.2d at 576. Indeed, “[t]he

focus always must be on prevention of injury by a proper order, not merely on

preservation of the status quo.” Id.

       The FDA’s actions on chemical abortion drugs cause real, significant, and

ongoing harm to Plaintiffs. App. 016, 018, 075–80. Without a preliminary injunction,

these injuries will continue. Id. 074, 076, 080. The physical and emotional trauma

that chemical abortion inflicts on women and girls cannot be reversed or erased. The

crucial time that doctors need to treat these injured women and girls cannot be

replaced. The mental and monetary costs to these doctors cannot be repaid. And the

time, energy, and resources that Plaintiff medical associations expend in response to

the FDA’s actions on chemical abortion drugs cannot be recovered.



                                           23
Case 2:22-cv-00223-Z     Document 7     Filed 11/18/22    Page 29 of 32     PageID 990



IV.   Plaintiffs’ injuries and the harm threatened to the public outweighs
      the possible harm to Defendants, and injunctive relief will serve the
      public interest.

      “The third and fourth requirements for issuance of a preliminary injunction—

the balance of harms and whether the requested injunction will serve the public

interest—‘merge when the Government is the opposing party.’” State of Texas v.

Becerra, 2022 WL 3639525, at *29 (N.D. Tex. Aug. 23, 2022) (citations omitted).

Courts must “balance the harm that would be suffered by the public if the preliminary

injunction were denied against the possible harm that would result to [Defendant] if

the injunction were granted.” Miss. Power & Light Co. v. United Gas Pipe Line Co.,

760 F.2d 618, 626 (5th Cir. 1985). “[P]ublic interest weighs strongly in favor of

preventing unsafe drugs from entering the market.” Hill Dermaceuticals, Inc. v. U.S.

Food & Drug Admin., 524 F. Supp. 2d 5, 12 (D.C. 2007). A preliminary injunction is

appropriate where the “irreparable harm asserted is the adverse impact . . . on the

public,” and the “dominant presence of the public interest” is a “central issue in th[e]

case.” Miss. Power & Light, 760 F.2d at 623.

      The public interest favors protecting women and girls from the harms of

chemical abortion drugs. The FDA’s actions have exposed women and girls to

suffering physical pain, medical complications, and emotional trauma—and continue

to do so. In addition, these actions harm doctors and their medical associations by

causing them to respond to the FDA’s failure to protect women and girls. The vital

public interest in protecting women, girls, and their doctors from the harmful effects

of chemical abortion warrant preliminary injunctive relief. See id. This interest is

particularly strong where the unlawful actions likely were undertaken with the


                                          24
Case 2:22-cv-00223-Z     Document 7     Filed 11/18/22     Page 30 of 32    PageID 991



unlawful purposes of bringing into being an illegal market—in this case, a nationwide

mail-order abortion industry.

       “[T]here is a strong public interest in meticulous compliance with the law by

public officials,” particularly by the FDA. Fund for Animals, Inc. v. Espy¸ 814 F. Supp.

142, 152 (D.C. 1993). The FDA’s repeated disregard for federal law and evisceration

of crucial safeguards for women and girls warrant immediate relief—before more

women, girls, and their doctors suffer the consequences.

                                   CONCLUSION

       For the foregoing reasons, the Court should issue a preliminary injunction,

without bond, ordering Defendants to: (1) withdraw or suspend its September 30,

2000, Approval of Mifeprex and its April 11, 2019, approval of Mifepristone Tablets,

200 mg, and remove them from the list of approved drugs; (2) withdraw or suspend

its March 29, 2016, Approval of Danco Laboratories, LLC’s supplemental new drug

application for Mifeprex (Application Number: 020687Orig1s020); (3) withdraw or

suspend its April 12, 2021, Non-Enforcement Decision letter, and December 16, 2021,

Response to the 2019 Citizen Petition concerning the in-person dispensing

requirement for mifepristone; and (4) enjoin Defendants from enforcing the Federal

Food, Drug, and Cosmetic Act inconsistent with these orders while they remain in

effect.3




3 Because the injunctive relief requested would serve the public interest, Plaintiffs

ask the Court to exercise its discretion to not require a security or bond under Fed.
R. Civ. P. 65(c). See City of Atlanta v. Metro. Atlanta Rapid Transit Auth., 636 F.2d
1084, 1094 (5th Cir. 1981).


                                          25
Case 2:22-cv-00223-Z   Document 7    Filed 11/18/22   Page 31 of 32     PageID 992



Respectfully submitted this November 18, 2022.

                               By: s/ Erik C. Baptist
                                ERIK C. BAPTIST, D.C. Bar No. 490159
                                ERIN MORROW HAWLEY, D.C. Bar No. 500782*
                                MATTHEW S. BOWMAN, D.C. Bar No. 993261
                                ERICA STEINMILLER-PERDOMO, FL Bar No. 118439
                                ALLIANCE DEFENDING FREEDOM
                                440 First Street NW, Suite 600
                                Washington, DC 20001
                                Telephone: (202) 393-8690
                                Facsimile: (202) 347-3622
                                ebaptist@ADFlegal.org
                                ehawley@ADFlegal.org
                                mbowman@ADFlegal.org
                                esteinmiller@ADFlegal.org

                                JULIE MARIE BLAKE, VA Bar No. 97891
                                ALLIANCE DEFENDING FREEDOM
                                44180 Riverside Parkway
                                Lansdowne, Virginia 20176
                                Telephone: (571) 707-4655
                                Facsimile: (571) 707-4790
                                jblake@ADFlegal.org

                                DENISE M. HARLE, GA Bar No. 176758
                                ALLIANCE DEFENDING FREEDOM
                                1000 Hurricane Shoals Rd NE,
                                Suite D-1100
                                Lawrenceville, Georgia 30043
                                Telephone: (770) 339-0774
                                Facsimile: (770) 339-6744
                                dharle@ADFlegal.org

                                CHRISTIAN D. STEWART, TX Bar No. 24013569
                                MORGAN WILLIAMSON, LLP
                                701 S Taylor, Suite 400, LB 103
                                Amarillo, Texas 79101
                                Telephone: (806) 358-8116
                                Facsimile: (806) 350-7642
                                cstewart@mw-law.com

                                Attorneys for Plaintiffs
                                *Pro Hac Vice Application forthcoming



                                       26
Case 2:22-cv-00223-Z    Document 7     Filed 11/18/22    Page 32 of 32    PageID 993



                          CERTIFICATE OF SERVICE

      I certify that this document will be served on all defendants via USPS Priority

Mail Express to the addresses listed in the complaint and on the summonses. In

addition, I will cause courtesy copies of all filings in this case to be sent via USPS

Priority Mail Express and via email to General Counsel Samuel R. Bagenstos, U.S.

Department of Health and Human Services, 200 Independence Ave., S.W., Room 713-

F, Washington, D.C. 20201, Samuel.Bagenstos@hhs.gov, and Isaac Belfer, U.S.

Department of Justice, Civil Division, Consumer Protection Branch, 950

Pennsylvania Avenue, N.W., Washington, D.C. 20530, isaac.c.belfer@usdoj.gov.


                                       s/ Erik C. Baptist
                                       ERIK C. BAPTIST




                                         27
